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                                                                    May 22, 2020
        BY ECF
        The Honorable Katharine H. Parker
        United States Magistrate Judge
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                                     Re:    Bah v. The City of New York, et al.,
                                            20-CV-263 (AT)(KHP)

        Your Honor:
                       I am an attorney in the office of James E. Johnson, Corporation Counsel of the
        City of New York, representing the defendant City of New York in the above-referenced matter.
        Pursuant to Your Honor’s order (see Order dated May 6, 2020, ECF No. 17), defendant writes on
        behalf of both parties to provide the Court with a status report and to request a sixty (60) day
        enlargement of all current deadlines.
                        By way of background, during a telephone status conference held on April 23,
        2020 before Your Honor, defendant agreed to identify the John and Jane Doe officers to allow
        plaintiff to file an amended complaint before commencing motion practice on defendant’s
        intended motion to dismiss. Your Honor then issued a scheduling order containing the following
        deadlines: Amended pleadings due by 5/29/2020; Motion to Dismiss due by 6/30/2020;
        Responses due by 7/30/2020; and Reply due by 8/14/2020. (See Scheduling Order dated April
        23, 2020, ECF No. 14.)
                      Due to the significant disruption in normal business functions caused by the
        COVID-19 pandemic and since plaintiff is seeking to name multiple officers assigned to
        different commands (i.e., the precinct of arrest, the Mass Arrest Processing Center (“MAPC”),
        and the New York County Court Section), defendant has not yet been able to identify all of the
        John and Jane Doe officers. As such, additional time is needed for defendant to investigate and
        determine the identities of these officers. The parties therefore propose the following revised
        schedule:

                      Plaintiff’s Amended Pleading to be filed:           July 28, 2020
                      Defendant’s Motion to Dismiss to be filed:          August 31, 2020
                      Plaintiff’s Opposition to be filed:                 September 28, 2020
                      Defendant’s Reply to be filed:                      October 13, 2020
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             Thank you for your consideration of this request.


                                                  Sincerely yours,


                                                  Bilal Haider       /s
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cc:   By ECF
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